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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

                                       )
MARICEL MARCIAL,                       )
                                       )
                Plaintiff,             )
                                       )
                v.                     )                     Case No: 16-cv-6109
                                       )                     Magistrate Judge Susan E. Cox
RUSH UNIVERSITY MEDICAL                )
CENTER; DR. MICHAEL KREMER, in )
his individual capacity; RAY NARBONE, )
in his individual capacity; and JILL   )
WIMBERLEY, in her individual capacity, )
                                       )
                Defendants.            )

                         MEMORANDUM OPINION AND ORDER

         For the reasons discussed below, Defendants’ Motions for Summary Judgment [Dkt. 126,

130] are granted, and judgment is entered in favor of the Defendants.

                                        BACKGROUND

       Plaintiff Maricel Marcial (“Plaintiff”) is an Asian woman of Filipina descent, who was over

40 years old during the time period relevant to this matter. (Dkt. 143 at ¶ 3.) In 2012, Plaintiff,

who had previously worked as a registered nurse in an Intensive Care Unit (“ICU”), enrolled in

the Certified Registered Nurse Anesthetist (“CRNA”) program at the Rush University Medical

Center (“Rush”) College of Nursing. (Id. at ¶2.) Plaintiff entered the CRNA program with 27

other Student Registered Nurse Anesthetists (“SRNA”) in her cohort, including 23 women, six

other minority students, and one other student over 40 years old. (Id. at ¶ 4.)

       The first portion of the CRNA program was a didactic curriculum, which was primarily

classroom learning, and was successfully completed by Plaintiff. (Id. at ¶ 33.) During this portion

of the program, SRNAs also participated in a “clinical practicum,” which gives students (including



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Plaintiff) “incremental experience under the supervision of CRNAs.” (Id. at ¶ 34.) The second

portion of the program is a 15-month clinical residency, in which SRNAs assist CRNAs in

providing anesthesia to patients. (Id. at ¶ 36.) CRNAs would supervise SRNAs during their

residency, and would submit “formative evaluations,” detailing the SRNAs’ performance. (Id. at

¶ 38.)

         SRNAs were given a student handbook, which provided Rush’s policy on evaluations and

clinical grades for SRNAs. (Id. at ¶ 17.) In relevant part, the handbook states:

                         First year students need to obtain daily (formative)
                 evaluations from physicians and CRNAs with whom they are
                 assigned. A summative evaluation is prepared at the end of each
                 trimester. During the clinical immersion residency, students will
                 obtain at least two clinical evaluations each week, and will continue
                 to have summative evaluations prepared. . . . Clinical practicum and
                 clinical residency course grades are pass-fail. A passing grade is
                 awarded if the student consistently meets or exceeds . . . applicable
                 rotation objectives for clinical residency as demonstrated by a
                 majority of satisfactory or higher ratings on formative evaluations.
                         Multiple unsatisfactory ratings or repeated patient safety
                 concerns may be grounds for course failure. . . . An Academic
                 Improvement Form will be generated to document written warning
                 of potential course failure.

(Id. at ¶ 17.)

         According to CRNA program policy, a student who received more than three formative

evaluations with unsatisfactory ratings in areas impacting patient safety may receive a failing

clinical residency grade. (Id. at ¶ 44.)

         Plaintiff began her clinical residency in May 2013. (Id. at ¶ 46.) On May 10, 2013, Plaintiff

was assigned to work with Defendant Jill Wimberly for the first time; Defendant Wimberly rated

Plaintiff’s performance as satisfactory and wrote positive comments on Plaintiff’s formative

evaluation form. (Id. at ¶ 47.) On June 11, 2013, Plaintiff was assigned to work with Eva Fisher,

another CRNA at Rush. (Id. at ¶ 48.) On an evaluation dated June 18, 2013, Ms. Fisher wrote


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that Plaintiff had made mistakes while working on an infant patient, including having the wrong

size endotracheal tube and drawing up the incorrect medication dosage for the infant’s weight. (Id.

at ¶ 49.) Plaintiff contends that Fisher did not say anything negative to her about her performance

on June 11, and that she did not receive the evaluation dated June 18 until June 22. (Id. at ¶ 48.)

Plaintiff also claims that she saw Ms. Fisher and Defendant Wimberly speaking in the nurse’s

lounge on June 21, and that their facial expressions and gestures suggested that they were speaking

about Plaintiff in a disparaging way. (Id. at ¶ 48.) According to Plaintiff, “[t]he circumstances

raise a fact issue that [Fisher’s evaluation] was backdated in collusion with Wimberly.” 1 (Id. at ¶

48.)

         On June 20, 2013, Plaintiff was once again assigned to Defendant Wimberly’s supervision.

(Id. at ¶ 50.) On this occasion, Wimberly claimed to observe several deficiencies, and her

evaluation of Plaintiff reflected those issues, including incorrect dosing and having the incorrect

breathing tube during the operating room setup. (Id. at ¶¶ 50-51.) Plaintiff maintains that this

evaluation is incorrect and misleading, and that Wimberly was highly emotional and not impartial

in her judgment of Plaintiff’s performance. (Id.)

         On July 1, 2013, Plaintiff was assigned to work with Alida Hooker, another CRNA at Rush.

(Dkt. 129-12 at 24.) Ms. Hooker rated Plaintiff as unsatisfactory in the area of “recogniz[ing]

intraoperative complications (utilizing ECG, invasive and/or noninvasive monitors and physical

assessment.” (Id.) The following day, Defendant Michael Kremer, Program Direct of the CRNA

program, emailed Ms. Hooker for feedback on Plaintiff’s performance because Plaintiff “had some



1
  Contrary to Plaintiff’s ipse dixit assertion, the fact that Wimberly and Fisher – who are co-workers – were seen
speaking to each other at work does not support Plaintiff’s desired inference that Fisher’s evaluation was backdated
nor create a genuine issue of material fact that it was. As such, the Court will not be relying on this supposed fact in
its discussion on the merits of Plaintiff’s claims. The record shows that sometimes CRNAs and physicians in the
program would take several days to complete their paperwork for the evaluations of SRNAs assigned to them. (See
Dkt. 129-8 at 87:1-9.)

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challenges,” and Kremer wanted “to stay on top of how things are going.” (Id. at 26.) Ms. Hooker

responded that Plaintiff was prepared during “set up,” but “appeared disorganized once we got to

the intubation.” (Id.) Ms. Hooker also noted that Plaintiff “kept an eye on the vitals, but seemed

to take them as they came, not proactive in treating them and even realizing what [blood pressure]

was too low.” (Id.) Ms. Hooker concluded that Plaintiff “shows some difficulty with prioritizing

and then following through and finishing tasks” and “becomes scattered and acts in a nervous

rush.” (Id.) It is Plaintiff’s position that the patient in question had a 20% drop in blood pressure

on only one reading, and that the standard of care only requires action on the basis of vital sign

trends, not a single data point. (Dkt. 143 at ¶ 57.)

       Plaintiff then met with Defendant Kremer to discuss her need to improve her clinical

performance, and the possibility of dismissal if she continued to receive unsatisfactory clinical

evaluations. (Id. at ¶ 60.) Defendant Kremer provided Plaintiff with a copy of her Academic

Improvement Form; the Academic Improvement Plan stated that a student “requires a formal

academic improvement plan when one or more course objectives are not being met,” which “if not

addressed, put the student at risk for receiving a non-passing final grade in this course.” (Dkt. 129-

14 at 1.) The Academic Improvement Form highlighted that Plaintiff had received “unsatisfactory

ratings in the areas of patient safety, clinical judgment and professionalism,” and reflected that

Defendant Kremer discussed the need for Plaintiff to be more consistent in her clinical

performance and the availability of counseling services. (Dkt. 143 at ¶¶ 61-62.)

       On July 23, 2013, Plaintiff was evaluated by Dr. Judith Wiley. The evaluation rated

Plaintiff as “below the level expected” in airway management and recognizing intraoperative

complications. (Dkt. 129-12 at 34.) Dr. Wiley also noted that Plaintiff “[n]eed[ed] more direction

that I would expect at this point of the program,” and that she could not answer questions regarding



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material covered during the didactic program. (Id.) She also stated that Plaintiff “seems to have

difficulty remembering or following directions.”               (Id.)    Plaintiff states that this review is

misleading. (Dkt. 143 at ¶ 63.)

        On July 30, 2013, Plaintiff was working under the supervision of CRNA Amy Gawura.

(Id. at ¶ 66.) Ms. Gawura rated Plaintiff as “unsatisfactory” in the following areas: “psychomotor

skills,” “clinical judgment,” and “professionalism.” (Id.) Gawura indicated that Plaintiff was

unsure whether to ventilate a patient using a mask airway or an endotracheal tube, and that

Plaintiff’s mistake caused a breathing problem in the patient that Ms. Gawura had to correct. (Id.

at ¶ 66.) Plaintiff again does not believe that the criticisms are correct or true. (Id.)

        In August 2013, Plaintiff met with Defendant Kremer and Dr. Wiley to discuss her failure

to improve her clinical performance, and Plaintiff decided to withdraw nonpassing from her

clinical residency. (Id. at ¶¶ 68-69.) Plaintiff requested a leave of absence, which was granted,

and was scheduled to return at the start of the new academic term in January 2014. (Id. at ¶ 70.)

        During Plaintiff’s leave of absence, she met with Defendants Kremer and Narbone, Chief

Anesthetist and Director of Operating Room Services, to address the challenges Plaintiff would

face upon her return to the program. (Id. at ¶ 72.) Defendant Kremer presented Plaintiff with

other programs at Rush to which she could transfer, and Kremer requested Narbone to minimize

Plaintiff’s assignments with Defendant Wimberly.2 According to Plaintiff, Narbone told Plaintiff

she was “delusional” to think she could succeed in the CRNA program, and said “I don’t suppose




2
 In her response to Defendants’ Statement of Material Facts, Plaintiff contends that “Narbone testified that Kremer
directed him not to assign Marcial to Wimberly.” (Dkt. 143 at ¶ 74.) The cited portion of Narbone’s testimony
demonstrates that this is incorrect. To wit:
                  Q: Did Dr. Kremer ever tell you not to assign [Plaintiff and Defendant Wimberly]
                  together at all?
                  A: Not to my recollection.
(Dkt. 129-9 at 60:24-61:2.)

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you are the youngest in your class, so why waste your time on something that will make you

miserable?” (Dkt. 151 at ¶ 10.)

         On November 19, 2013, Plaintiff reviewed and signed a Student Learning Contract in

anticipation of her return to the CRNA program; the Student Learning Contract provided certain

benchmarks for Plaintiff’s improvements in clinical performance and professionalism. (Dkt. 143

at ¶¶ 75-76.) Plaintiff claims that Kremer pressured her to withdraw from the CRNA program at

this meeting, stating “you choose not to accept counsel from people who vehemently feel for many

years that your chance of being successful are slim at best.” (Dkt. 151 at ¶ 11.)

         Plaintiff returned to the clinical residency course in January 2014, and met weekly with

Defendant Kremer to review her progress. (Dkt. 143 at ¶¶ 78-79.) Upon her return to the program,

Plaintiff’s performance was rated as unsatisfactory by 13 different CRNAs. (Id. at ¶ 79.) Among

the examples that Plaintiff does not dispute:3

    •    On January 9, 2014, CRNA Kathleen Oksvarek rated Plaintiff as unsatisfactory in the area
         of clinical judgment, noting that Plaintiff had failed to notice an abnormal EKG. (Id. at ¶
         80.)
    •    On January 15, 2014, CRNA Lea Forester rated Plaintiff as unsatisfactory in the areas of
         patient safety, clinical judgment, and professionalism. (Id. at ¶ 81.)
    •    On January 24, 2014, CRNA Rene Przygodzka noted that Plaintiff needed “continuous
         support.” (Id. at ¶ 89.)
    •    On February 3, 2014, CRNA Jillian Klunk rated Plaintiff as unsatisfactory in the areas of
         psychomotor skills and professionalism.
    •    On February 13, 2014, Dr. Wiley rated Plaintiff’s performance as below the level expected.
         (Id. at ¶ 94.)
    •    On February 18, 2014, Dr. Wiley rated Plaintiff’s performance as below the level expected
         or unsatisfactory in the areas of patient safety, psychomotor skills, and clinical judgment.
         (Id. at ¶ 95.)
    •    On February 20, 2014, CRNA Heather Keldahl rated Plaintiff as unsatisfactory in the area
         of professionalism, noting that Plaintiff “had accidentally hit the sterile robot arm after
         dumping urine from a catheter, contaminating the sterile field for the procedure.” (Id. at ¶
         97.) Plaintiff does not dispute that she did so, but disputes whether she attempted to hide
         this mistake from others.
3
 There are several other evaluations and interactions that Plaintiff disputes, but they are not material to this Court’s
decision, given the large number of undisputed negative evaluations in the summary judgment record, for the reasons
discussed more fully below.

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   •   On March 10, 2014, CRNA Sheila Warren rated Plaintiff as unsatisfactory in the areas of
       psychomotor skills and clinical judgment; Ms. Warren noted that Plaintiff continued to try
       and advance an IV catheter in a vein that had “blown.” Plaintiff does not dispute that she
       did so, but believes that Warren’s reaction to her doing so was “unwarranted.” (Id. at ¶
       99.)
   •   On March 25, 2014, Dr. Wiley rated Plaintiff’s performance as below the level expected
       or unsatisfactory in the areas of patient safety and clinical judgment. Wiley noted that
       Plaintiff had injected a patient with an unlabeled syringe. (Id. at ¶ 104.)
   •   On May 15, 2014, Dr. Wiley rated Plaintiff’s performance as below the level expected or
       unsatisfactory in the areas of clinical judgment and professionalism. (Id. at ¶ 112.)

       In the midst of these issues, on January 24, 2014, Plaintiff and Defendant Kremer met, and

Kremer reminded Plaintiff that she had returned under a Student Learning Contract, and informed

her that her performance upon returning had been inconsistent and resulted in four unsatisfactory

formative evaluations, many of which highlighted deficiencies that had been documented prior to

Plaintiff’s leave of absence. (Id. at ¶ 91.)

       In April 2014, Plaintiff submitted a complaint to the Rush director of the Compliance

Office for discrimination and mistreatment. (Id. at ¶ 110.) At her deposition, Plaintiff testified

that shortly prior to her leave of absence in 2013 she had verbally told Defendant Kremer that she

felt she had been subjected to disparate treatment. (Dkt. 129-2 at 13:24-14:17.) Rush investigated

Plaintiff’s complaint and found no evidence of discrimination, bullying, hazing, or harassment in

the CRNA program. (Id. at ¶ 134.)

       Also in early April 2014, Plaintiff was absent from the clinical residency due to health

reasons, and was scheduled to return to the clinical residency on May 5, 2014 for a five-week

probationary period. (Dkt. at ¶¶ 108-109.) During her probationary period, Plaintiff received at

least five additional negative evaluations with unsatisfactory ratings. (Dkt. 143 at ¶¶ 111-115.)

Plaintiff does not dispute that she received these ratings, but argues that the clinical assessments

in the evaluations are not valid and that what she did was appropriate. (Dkt. 143 at ¶¶ 111-115.)

On May 30, 2014, Defendant Kremer informed Plaintiff that she would receive a grade of “no

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pass” for her clinical residency. (Dkt. 143 at ¶ 117.) At the time of her dismissal, Plaintiff had

accrued 26 clinical evaluations with unsatisfactory ratings, more than any other student during the

relevant time period. (Id. at ¶ 119.) Plaintiff unsuccessfully appealed her “no-pass” grade through

the internal administrative procedures available to her at Rush. (Id. at ¶¶ 130-131, 135-140.)

       On October 8, 2014, Plaintiff filed charges with the United States Equal Employment

Opportunity Commission, alleging discrimination on the basis of her race, national origin, and age.

(Id. at ¶¶ 141-142.) Plaintiff then filed the instant suit on June 10, 2016. (Id. at ¶ 143.) The

operative pleading in this case is Plaintiff’s Second Amended Complaint, which was filed on July

12, 2017. (Dkt. 58.) Plaintiff alleges the following causes of action: Title VI and Title VII Race

and National Origin Discrimination against Rush (Counts I, II, VI), ADEA violations against Rush

(Count III), Retaliation pursuant to Title VI, Title VII, and the ADEA against Rush (Counts IV,

V, and VII), Breach of Contract against Rush (Count VIII); Tortious Interference with Contract

against Defendants Kremer, Narbone, and Wimberly (Count IX); and Tortious Interference with

Prospective Economic Advantage against Kremer, Narbone, and Wimberly (Count X).

       It is undisputed that Plaintiff never heard derogatory comments based on her race or

national original during the time she was enrolled at Rush. (Dkt. 143 at ¶ 146.) In support of her

case, Plaintiff filed several affidavits from other minority students in the CRNA program at Rush.

However, as discussed in this Court’s accompanying order, much of those affidavits contain

inadmissible evidence that cannot be considered on summary judgment.             Plaintiff has not

submitted any evaluations of other similarly situated minority or over-40 SRNAs that would

demonstrate a pattern of discriminatory negative evaluations at Rush, nor has she submitted any

admissible evidence regarding more favorable treatment of white or young SRNAs at Rush.




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         The admissible portion of the affidavits that Plaintiff cites in her statement of additional

facts is fairly limited. Hakeem Ellis, a black man from Ghana, was a 2014 graduate of the CRNA

program at Rush. (Dkt. 151 at ¶ 20.) During his time at Rush, Defendant Kremer advised him

that the CRNA program was “not for everyone,” and Defendant Wimberly accused Mr. Ellis of

lying and said he was “no good for anesthesia practice.”4 (Dkt. 151 at ¶ 21.) According to Ellis,

he did not get good cases to work on early in the program, and once received a negative evaluation

from CRNA Angela Keehn because he was wearing gloves so that he could be “ready to go in if

something happened.” (Dkt. 151 at ¶ 20.) After that experience, Mr. Ellis told Defendant Kremer

that he “objected to working with CRNAs,” and Mr. Ellis was no longer assigned to CRNAs for

supervision after that meeting. (Dkt. 151 at ¶ 23.)

         Ms. Ebele Okonkwor is a 2014 graduate of the CRNA program at Rush, and a black woman

from Nigeria. (Id. at ¶ 25.) During her first period at Rush, she was not assigned to the operating

room, and was assigned to the endoscopy suite or the surgicenter, and sometimes had no

assignments at all. (Id. at ¶ 25.) On one occasion, Ms. Okonkwor asked Defendant Wimberly to

confirm that a plus-sign was the direct chart designation for a carbon dioxide reading, and was

screamed at by Defendant Wimberly, who told Ms. Okonkwor “[i]f you said that in another OR

they would throw you out.” (Id. at ¶ 26.)

         Dr. Ben Gardner was an SRNA student from 2010-2012, and was over 40 years old during

the relevant time period; he claims that he was told on multiple occasions that he was too old for

the program. (Id. at ¶ 29.) In March 2012, Gardner confronted Defendant Kremer about




4
  Many of the citations in Plaintiff’s Statement of Additional Facts contain incorrect references to affidavits. The
Court has sought to use the substantive portions of Plaintiff’s Statement of Additional Facts where they are supported
by admissible evidence, even if the Plaintiff’s citations to the record are incorrect. In other words, so long as the
statement of fact is supported by the relevant affidavit with admissible evidence, the Court has not penalized the
Plaintiff for incorrectly citing the affidavit in question.

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unprofessional conduct he had witnessed from CRNAs at Rush and Defendant Narbone. (Id. at ¶

31.) Gardner suggested that Rush would get sued if the aforementioned behavior continued and

that it would behoove Rush to provide EEO training for SRNAs and CRNAs; Gardner states that

Kremer admitted that Rush had a problem, but that he was uncertain what could be done to

ameliorate the issue. (Id.)

       Karen Kam is a 2014 graduate of the CRNA program at Rush, and is of Philippine national

origin and Asian, like Plaintiff. (Id. at ¶ 32.) On May 16, 2013, Ms. Kam was assigned to

Defendant Wimberly; Ms. Kam found Wimberly to be overbearing and abusive, and Defendant

Wimberly issued a negative evaluation by Defendant Wimberly that Ms. Kam disputed. (Id. at ¶

32.) Ms. Kam was also paired with Ms. Fisher on two occasions, which also resulted in negative

evaluations which Ms. Kam disputed. (Id. at ¶ 33.)

       Defendants filed the instant summary judgment motions on March 22, 2019. While

reviewing the parties’ summary judgment, the Court requested additional briefing on the

admissibility of the affidavits that Plaintiff submitted. That briefing has been complete, and the

motions for summary judgment are otherwise ripe for disposition.

                                   STANDARD OF REVIEW

       Summary judgment is proper where “the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as

to material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.

P. 56 (c). In determining whether there is a genuine issue of fact, the Court “must construe the

facts and draw all reasonable inferences in the light most favorable to the nonmoving party.” Foley

v. City of Lafayette Indiana, 359 F.3d 925, 928 (7th Cir. 2004). The party seeking summary

judgment has the burden of establishing the lack of any genuine issue of material fact. See Cellotex



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Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L. Ed. 2d 265 (1986). A genuine issue of

material fact exists if “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Anderson v. Liberty Lobby Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L. Ed.

2d 202 (1986). Summary judgment is proper against “a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on which the

party will bear the burden of proof at trial.” Cellotex, 477 U.S. at 322. “The mere existence of a

scintilla of evidence in support of the [non-movant’s] position will be insufficient; there must be

evidence on which the jury could reasonably find for the [non-movant].” Anderson, 477 U.S. at

252.

                                                  DISCUSSION

         A.       Employment Discrimination Claims (Counts I, II, III, VI)

         Plaintiff brings employment discrimination claims based on Title VI, Title VII, and the

ADEA. Because these causes of action all share an analytical framework, the Court will consider

them together. See, e.g., Sawyer v. Columbia College, 864 F. Supp. 2d 709, 720 (N.D. Ill. 2012)

(comparing Title VI and Title VII); Perry v. Dept. of Humans Servs., 345 F. Supp. 3d 1019, 1026-

27 (N.D. Ill. 2018) (analyzing ADEA and Title VII using the same framework). Historically,

courts have turned to the McDonnell-Douglas framework discussed later in this opinion. However,

the Seventh Circuit, while not eschewing the McDonnell-Douglas test, has noted that the legal

standard for employment cases “is simply whether the evidence would permit a reasonable

factfinder to conclude that the plaintiff’s race, ethnicity, sex, religion, or other proscribed factor

caused the discharge or other adverse employment action.” Ortiz v. Werner Enterprises, Inc., 834

F.3d 760, 765 (7th Cir. 2016).5 Because the parties have spilled much ink on which standard should


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  It is unclear how the Seventh Circuit’s Ortiz decision affects Title VI, but other courts in this circuit appear to be
treating Title VI claims under the framework articulated in Ortiz. See Martin v. Southern Illinois University School

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be used – even though, as noted above, Ortiz explicitly stated that it had no effect on the

McDonnell-Douglas framework – and because Plaintiff’s claims fail under either test, the Court

will examine Plaintiff claims using both tests.

                  1.       McDonnell-Douglas Framework

         In order to establish a prima facie case for discrimination under a disparate treatment theory

of liability, Plaintiff has the initial burden of establishing that: 1) she was a member of a protected

class; 2) she performed reasonably on the job in accord with Rush’s legitimate expectations; 3)

she was subjected to an adverse employment action;6 and 4) similarly situated employees outside

of the protected class were treated more favorably by Rush. David v. Bd. of Trustees of Community

College Dist. No. 508, 846 F.3d 216, 225 (7th Cir. 2017). After a plaintiff has demonstrated a

prima facie case for race discrimination, the burden shifts to the employer to articulate a legitimate,

non-discriminatory reason for the challenged actions. McDonnell Douglas Corp. v. Green, 411

U.S. 792, 802 (1973). If the employer does so, the burden shifts back to the plaintiff to present

evidence that the proffered reason is “merely pretext for unlawful discrimination.” Hudson v.

Chicago Transit Auth., 375 F.3d 552, 561 (7th Cir. 2004).

         Here, Plaintiff has failed to create a genuine issue of material fact that would satisfy the

second and fourth elements of the prima facie test. First, Plaintiff has not met her burden of

creating a genuine issue of material fact that she performed reasonably on the job in accord with


of Medicine, 2017 WL 4780613, at *9 (C.D. Ill. Oct. 23, 2017). As such, the Court will treat Plaintiff’s Title VI claims
together with her Title VII and ADEA claims under both the McDonnell-Douglas and Ortiz analyses in this opinion.
6
   The parties have not argued which negative consequences constitute a legally cognizable adverse employment
action. “While adverse employment actions extend beyond readily quantifiable losses, not everything that makes an
employee unhappy is an actionable adverse action.” Dass v. Chicago Bd. of Ed., 675 F.3d 1060, 1069 (7th Cir. 2012)
(quoting O’Neal v. City of Chicago, 392 F.3d 909, 911 (7th Cir. 2004)) (internal quotations omitted). Certainly,
Plaintiff’s failing grade and subsequent removal from the CRNA program would constitute an adverse employment
action. However, the negative evaluations that Plaintiff received would not rise to the level of an adverse employment
action. See Krause v. City of La Crosse, 246 F.3d 995, 1000 (7th Cir. 2001) (citing Sweeney v. West, 149 F.3d 550,
556 (7th Cir. 1998)) (noting that a written reprimand, without more, is not an adverse employment action). Therefore,
for the purposes of this Court’s analysis, only Plaintiff’s failing grade is considered as an adverse employment action.

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Rush’s legitimate expectations. Plaintiff admits that the SRNA handbook said that multiple

unsatisfactory ratings or repeated patient safety concerns may be grounds for failing the clinical

residency course, and that Rush’s policy was that a student who received more than three formative

evaluations with unsatisfactory patient safety ratings may fail the clinical residency. (Dkt. 143 at

¶ 44.) Plaintiff admits that she received 26 evaluations with unsatisfactory ratings during her time

in the CRNA program;7 although Plaintiff contests the accuracy of many of these evaluation, there

are still significantly more than three such evaluations that Plaintiff does not contest in her

summary judgment filings, as discussed in the factual background section of this opinion.

Standing alone, these undisputed negative evaluations conclusively show that Plaintiff was not

meeting Rush’s legitimate expectations for patient safety from SRNAs in their clinical residency

program. The Court does not believe that Plaintiff has met her burden of showing that she meets

the second element of the prima facie case requirement under McDonnell-Douglas.

         Plaintiff has also failed to create a genuine issue of material fact demonstrating that

similarly situated SRNAs outside of the relevant protected classes were treated more favorably

than she was. In fact, there is almost no admissible evidence regarding the treatment of white or

under-40 SRNAs in the CRNA program at Rush in the record to compare to Plaintiff’s allegations.8

Plaintiff did not provide the court with the discipline records of similarly situated SRNAs to

compare whether such SRNAs were treated more or less harshly that Plaintiff. Plaintiff did not



7
  Plaintiff adds in her response to this undisputed fact that no other student accrued as many negative evaluations
because SRNAs were “pressured out” of the CRNA program whereas Plaintiff was “determined to stick it out.” (Dkt.
143 at ¶ 119.) This is irrelevant and has no bearing on whether Plaintiff was performing up to Rush’s expectations.
Just because other struggling students were quicker to realize that they were not meeting expectations than Plaintiff
does not convert Plaintiff’s longer period of substandard performance into adequate performance.
8
 Plaintiff provided several affidavits, but large swaths of those affidavits were stricken as containing accusations that
were conclusory, hearsay, or lacking foundation to be admissible, and, therefore, could not be relied on to defeat
Defendants’ summary judgment motions. Those affidavits are discussed in a separate ruling issued simultaneously
with this one.

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cite any testimony demonstrating specific examples of white or under-40 SRNAs who were

disciplined less harshly than Plaintiff or committed the mistakes discussed in Plaintiff’s negative

evaluations without any repercussions for non-protected SRNAs. Simply put, the Plaintiff has

failed to provide the Court with any evidence that would allow the Court to meaningfully review

how similarly situated SRNAs outside the protected class were treated. As such, she has failed to

meet her burden to create a genuine issue of material fact on the fourth element.

        Even if Plaintiff were able to make out a prima facie case, she has failed to show that the

proffered reason for Plaintiff’s failure was pretextual. Rush has articulated the obvious concern

for patient safety as a reason for failing Plaintiff from the clinical residency course. Plaintiff has

pointed to no evidence in the record that would tend to show that Rush’s proffered reason for

dismissing Plaintiff from the CRNA program – that Plaintiff had accrued too many unsatisfactory

ratings in the area of patient safety – was pretextual. In fact, Plaintiff makes no argument regarding

this issue anywhere in her brief in response. Therefore, Plaintiff’s claim fails for this basis as well.

                2.      Ortiz Framework

        The Court finds that Plaintiff’s claims would also fail under the Ortiz analysis. As noted

above, the legal standard articulated by the Seventh Circuit “is simply whether the evidence would

permit a reasonable factfinder to conclude that the plaintiff’s race, ethnicity, sex, religion, or other

proscribed factor caused the discharge or other adverse employment action.” Ortiz, 834 F.3d at

765.

        Plaintiff’s argument that she satisfies Ortiz essentially contains two elements, which

combine to make out her claims: 1) the negative formative evaluations in Plaintiff’s file were either

misleading or fabricated; and 2) other minority students felt that they were treated to “arbitrary

and capricious misconduct of which [Plaintiff] complains.” (Dkt. 141 at 9-10.) Plaintiff contends



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that this evidence would permit a reasonable factfinder to conclude that Plaintiff was subject to an

adverse employment action because of her race, national origin, or age.

       Regarding the second portion of the argument, Plaintiff has very little admissible evidence

to show that other students in the protected class were discriminated against while in the CRNA

program at Rush. The vast majority of the relevant testimony proffered by Plaintiff was stricken

by this Court in the accompanying opinion, because it was conclusory, hearsay, not based on

personal knowledge, or lacked foundation. The remainder does not much provide much probative

evidence to support Plaintiff’s claims. When the stricken material is removed from the affidavits,

all that remains are a handful of stray examples of Defendant Wimberly or Ms. Eva Fisher being

harsh with students and perhaps a bit unpredictable. There is no proof that these actions were

motivated by racial animus towards any of those affiants or Plaintiff. There is no testimony from

any of the witnesses personally observing preferential treatment of students outside the protected

classes. There is no evidence that Defendant Wimberly was exclusively unkind to minority

students, or that she made any comments demeaning minorities. The Court is left to guess whether

Defendant Wimberly was also harsh to white American SRNAs. It is not enough that a supervisor

be unpleasant or demeaning to a minority employee to make out a claim for discrimination; the

Plaintiff must show that the supervisor was unpleasant or demeaning because the employee was a

minority. There is no such evidence in the record. Moreover, many of the affiants are not part of

the same protected class as Plaintiff, which necessarily limits the probative weight of their

testimony; the only affiants who are in the same class as Plaintiff are Karen Kam (Asian, Filipina)

and Ben Gardner (over-40). In short, Plaintiff has produced evidence that some minority students

were unhappy with their treatment at Rush, but that is not sufficient, without more, to allow a

reasonable factfinder to show that such treatment was caused by the witnesses’ protected status.



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       Plaintiff’s evidence regarding her own treatment at Rush suffers from the same deficiency.

Plaintiff has disputed several of the evaluations used against her to justify her dismissal from the

CRNA program, believing that her actions were medically justifiable or that the evaluations do not

tell the whole story in many cases. However, what Plaintiff fails to provide is any evidence on

which a reasonable factfinder could rely to conclude that these negative evaluations were not only

misleading, but also written in a misleading fashion because of Plaintiff’s protected status. Once

again, there is no evidence of any animus by any of the evaluations’ authors, or any evidence that

students outside of the relevant protected classes were treated more favorably, had more accurate

evaluations, or were not criticized for the same mistakes that Plaintiff was criticized for

committing. Additionally, even if a factfinder did believe that Defendant Wimberly or Ms. Fisher

wrote Plaintiff’s negative evaluation because Plaintiff was an over-40 Asian Filipina woman, that

would not explain away the approximately 20 additional negative evaluations that preceded

Plaintiff’s dismissal from the CRNA program. The best Plaintiff can point to is Narbone’s

comment that she was not the “youngest” in her class and Ben Gardner’s affidavit. Gardner’s

affidavit identifies Angela Keehn and Renee Przygodzka as the CRNAs who told him he was “too

old” for the CRNA program. Plaintiff does not dispute Ms. Przygodzka’s negative review of her,

so any ageism she showed towards Gardner is not relevant to Plaintiff’s claim. (See Dkt. 143 at ¶

89.)     Keehn     provided   a   negative    review   that   Plaintiff   “objected   to   Kremer”

claiming it “had numerous false statements, but let it stand.” (Dkt. 143 at ¶ 82.) Again, even if

Plaintiff were to show that Keehn’s negative evaluation were animated by ageism, that single

evaluation and Narbone’s stray comment would not be sufficient for a reasonable factfinder to find

that Plaintiff’s failure from the clinical residency was caused by her age in the face of so many

additional negative evaluations whose authors’ motives are not questioned by Plaintiff and for



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whom there is no evidence of ageist animus in the record. Unless Plaintiff is claiming that every

reviewer rated her performance as unsatisfactory because of her protected status, 9 the Court does

not believe that a reasonable factfinder could find that Plaintiff received a failing grade in her

clinical residency due to her race, age, or national origin.

           B.       Retaliation Claims (Counts IV, V, VII)

           Because Plaintiff has failed to create a genuine issue of material fact that would allow a

reasonable fact finder to conclude that her protected activity caused her to receive a failing grade

in the clinical residency course, her retaliation claims also fail.10 In order to prevail on her

retaliation claims, Plaintiff must prove that she: 1) engaged in an activity protected by the relevant

statute, 2) suffered an adverse employment action; and 3) there is a causal link between the

protected activity and the adverse action. Lewis v. Wilkie, 909 F.3d 858, 866 (7th Cir. 2018).11 In

order to demonstrate a causal link, Plaintiff must show that Rush would not have failed her from

her clinical residency but for her protected activity. Greengrass v. International Monetary Sys.,

Ltd., 776 F.3d 481, 486 (7th Cir. 2015). There are many ways to prove a causal link – admission

of discriminatory animus, suspicious timing, ambiguous statements of animus, evidence of pretext,

or evidence that other employees were treated more favorably. Id.

           In this case, Plaintiff has shown that she engaged in protected activity on two occasions;

once at some point in 2013 when she mentioned discrimination to Kremer before her leave of

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    Even if she were making that argument, it is not at all supported by the record.
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  Retaliation claims under Title VI, Title VII and the ADEA are also treated under the same rubric. Compare, Tanner
v. Bd. of Trustees of University of Illinois, 2018 WL 1161140, at *13 (C.D. Ill. Mar. 5, 2018)(Title VI retaliation
elements), with Lewis v. Wilkie, 909 F.3d 866 (7th Cir. 2018) (Title VII retaliation elements); see also, Spratt v.
Bellwood Public Library, 380 F. Supp. 3d 783, 787 (N.D. Ill. 2019) (ADEA retaliation elements).
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   For many years, retaliation claims were analyzed under both direct and indirect evidence methods, but those
distinctions were also done away with for retaliation claims by Ortiz. See Lewis, 909 F.3d at 866-67. Even if this
Court were to utilize the indirect method, Plaintiff’s claims would fail because she has not created a genuine issue of
material fact regarding her ability to perform to Rush’s legitimate expectations or that similarly situated non-protected
SRNAs were treated more favorably, as discussed above. See id. at 866.

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absence, and then in April 2014 when she filed her formal complaint with Rush’s internal

Compliance Office. It is undisputed that Plaintiff suffered an adverse employment action in the

form of her failure from the clinical residency course. The only disputed issue is whether

Plaintiff’s protected activity caused her failure; the Court does not believe that Plaintiff has created

a genuine issue of material fact that it did.

        Plaintiff has not come forth with any evidence that Rush or its employees admitted to

discriminatory animus or made any ambiguous statements regarding animus. As discussed above,

Plaintiff has failed to produce any evidence regarding pretext or more favorable treatment by non-

protected SRNAs. As there was approximately one year between Plaintiff’s 2013 complaints to

Kremer regarding her perception that she was being discriminated against and her removal from

the program, there is no suspicious timing for that protected activity. Regarding her formal EEO

complaint with Rush’s Compliance Department, the timing between that filing and her eventual

dismissal from the program is close enough in time to be reasonably considered suspicious.

However, suspicious timing, without more, is not sufficient to support a finding that protected

activity caused an adverse employment action. Mobley, 531 F.3d 539, 549 (7th Cir. 2008)

(“Evidence of temporal proximity, standing on its own, is insufficient to establish a causal

connection for a claim of retaliation”). Plaintiff’s brief does not illuminate the Court as to any

other evidence that would allow a reasonable fact finder to conclude that Plaintiff’s complaint with

the Compliance Department caused her removal from the program. Her argument is limited to

baseless speculation that “the evaluation has been corrupted by deceit, and CRNAs share and are

influenced by the false opinions of other CRNAs,” and portions of affidavits that contain nothing

more than rank hearsay and were stricken in this Court’s accompanying opinion. (See Dkt. 141 at




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14.) With nothing more than suspicious timing to back up the causation portion of her retaliation

claims, Plaintiff’s claims fail as a matter of law, and summary judgment is granted on these claims.

       C.      Breach of Contract (Count VIII)

       The     Court    also    grants    Rush’s     motion     for   summary       judgment     on

Plaintiff’s breach of contract claim. Under Illinois law, the elements of a breach of contract claim

are: (1) the existence of a valid and enforceable contract, (2) substantial performance by the

plaintiff, (3) a breach by the defendant, and (4) resultant damages. Royal Sleep Prods., Inc. v.

Restonic Corp., 2010 WL 1172555, at *7 (N.D. Ill. Mar. 22, 2010) (citing Reger Development,

LLC v. National City Bank, 592 F.3d 759, 764 (7th Cir. 2010)). Students and universities may have

a contractual relationship set forth in handbooks or catalogs. DiPerna v. Chicago School of

Professional Psychology, 893 F.3d 1001, 1006-1007 (7th Cir. 2018) (citing Raethz v. Aurora Univ.,

805 N.E.2d 696, 699 (Ill. App. 2004)). However, courts are reluctant to interfere in private

universities’ regulation of student conduct, and “breach of contract claims brought by a student

against a private college or university are subject to a distinct standard: ‘a student may have a

remedy for breach of contract when it is alleged that an adverse academic decision has been made

concerning the student but only if that decision was made arbitrarily, capriciously, or in bad

faith.’” Id. at 1007 (quoting Raethz, 805 N.E.2d at 699) (emphasis in original). This standard

requires that the plaintiff demonstrate that the university’s decision was “without any discernible

rational basis,” and was “such a substantial departure from accepted academic norms as to

demonstrate that the person or committee responsible did not actually exercise professional

judgment.” Raethz, 805 N.E.2d at 699.

       The Plaintiff falls far short of meeting this standard. The Court can find no evidence in the

record that failing Plaintiff from her clinical residency course based on 26 negative formative



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evaluations, including several that Plaintiff does not dispute at all, was arbitrary, capricious, or in

bad faith. To the extent that Plaintiff is arguing that doing so in the face of Plaintiff’s pending

discrimination claims with Rush’s Compliance Office meets the standard, the undisputed record

shows that Rush investigated those claims, found that they were not substantiated, and that Plaintiff

was allowed to appeal her no-pass grade through all of the internal mechanisms available to her

under the student handbook. As such, a reasonable fact finder could not determine that Rush’s

decision was made without any discernible rational basis, and Plaintiff’s breach of contract claim

fails.

         D.     Tortious Interference with Contract (Count IX)

         Plaintiff’s claim for Tortious Interference with Contract against Defendants Wimberly,

Narbone, and Kremer (“the Individual Defendants”) also fails. In order to state a claim for tortious

interference with a contract, Plaintiff must allege: (1) the existence of a contract; (2) the Individual

Defendants’ awareness of the contract; (3) the intentional inducement of a contract breach; (4) an

actual breach of the contract; and (5) damages. Cody v. Harris, 409 F.3d 853, 859 (7th Cir. 2005)

(citing HPI Health Care Servs., Inc. v. Mt. Vernon Hosp., Inc., 545 N.E.2d 672, 676 (Ill. 1989)).

         The fundamental problem for Plaintiff is that she has failed to respond in any meaningful

way to the Individual Defendants’ motion for summary judgment. Although she submitted a brief

titled as a response to the Individual Defendants’ motion, the body of the brief is simply a copy of

Plaintiff’s brief in opposition to Rush’s motion on the claims brought against Rush. Plaintiff has

made no attempt to correct this mistake, despite the Individual Defendants pointing it out in their

reply brief. Even if she had, this claim would also fail because, as noted above, Plaintiff has failed

to create a genuine issue of material fact regarding an actual breach of the relevant contract.

Therefore, summary judgment is also granted on this claim.



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         E.      Tortious Interference with Prospective Economic Advantage (Count X)

         The elements for a claim for tortious interference with a prospective economic advantage

in Illinois are: (1) a reasonable expectancy of entering into a valid business relationship; (2) the

defendant’s knowledge of the expectancy; (3) an intentional and unjustified interference by the

defendant that induced or cause a breach or termination of the expectancy; and (4) damage to the

plaintiff resulting from the defendant’s interference. Borsellino v. Goldman Sachs Group, Inc.,

477 F.3d 502, 508 (7th Cir. 2007). “However, the tortious behavior must be directed toward a third

party with whom the expected employment or business relationship was to occur.” Ricco v.

Southwest Surgery Center, LLC, 73 F. Supp. 3d 961, 973 (N.D. Ill. 2014). As such, a corporate

entity cannot be held liable for interfering with its own business relationship with its own

employees; this rule includes employees acting on behalf of an employer who are alleged to have

interfered with a plaintiff’s employment. See Trujillo v. American Bar Assoc., 2015 WL 5139419,

at *7 (N.D. Ill. Aug. 28. 2015) (citing Vickers v. Abbott Labs., 719 N.E.2d 1101, 1116 (Ill. App.

1999)). That rule does not apply when the agent of the principal places his or her own interests

ahead of the corporate entity’s interests. Ricco, 73 F. Supp. 3d at 973 (“[a] corporate officer acting

on behalf of a corporation can be held liable for interference with employment expectancy only

where he places his own interests ahead of the corporation’s interest”).

         In this case, the Individual Defendants are employees of Rush, and Plaintiff has alleged

that she had an “enforceable expectation of continued coursework within and completion of the

Rush CRNA program.” (Dkt. 58 at ¶ 157.) Therefore, the Individual Defendants can only be held

liable for interference with Plaintiff’s prospective economic advantage with Rush to the extent

they were putting their own interests ahead of Rush’s.12 Plaintiff has put forth no evidence and


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  The Court also notes that Plaintiff has alleged she “could reasonably expect increased job opportunities and
monetary compensation” if she had successfully completed the CRNA program. (Dkt. 58 at ¶ 157.) Plaintiff has not

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mounted no argument that would allow a reasonable factfinder to conclude that any of the

Individual Defendants were putting their own interests ahead of Rush’s, or even what those

interests might be. Therefore, Plaintiff’s claims for tortious interference with a prospective

economic advantage fails and summary judgment is granted on this claim in favor of the Individual

Defendants.

                                               CONCLUSION

         For the reasons discussed above, Defendants’ Motions for Summary Judgment [Dkt.

126, 130] are granted, and judgment is entered in favor of the Defendants.



ENTERED:

Date: 8/21/2019



_____________________________________
U.S. Magistrate Judge, Susan E. Cox




provided any evidence regarding her reasonable expectation of entering into a business relationship with any third
party, and put forth no arguments to support such a finding.

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